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UNITED STATES DISTRICT COURT APR 1 4 2025

DISTRICT OF MINNESOTA
CLERK, U.S. DISTRICT COURT

DARKO PAVLOVSKI MINNEAPOLIS. MINNESOTA
Case No._24-cv-04452

Plaintiff(s),
Vv.
PLAINTIFF’S AFFIDAVIT
FRONTIER AIRLINES INC.

Defendant.

Plaintiff, under oath, states as follows,

I always complied with what the flight attendant B requested from me.

I always complied with what Supervisor Pam requested from me.

I never attempted to grab any badges. I don’t even know what is the purpose for that
Attached is a true copy of Affidavit signed just days (December 27th, 2024) after the
incident from a passenger who set next to us, Jennifer Naimo. Exhibit A

eB» YenNr

Thank you very much for your attention!

Yours sincerely,
Darko Pavlovski

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US. DISTRICT COURT MPLS |

